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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 ROBERT K. MAXWELL,

 Plaintiff,                                                Case No. 1:17-cv-03226

 v.                                                        Honorable Judge Sara L. Ellis

 CHICAGO PATROLMEN’S FEDERAL,
 CREDIT UNION, EXPERIAN
 INFORMATION SOLUTIONS, INC.,
 TRANSUNION, LLC, and
 EQUIFAX INFORMATION SERVICES,
 LLC,

 Defendants.

              AGREED STIPULATION OF DISMISSAL WITHOUT PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, ROBERT K.

MAXWELL and the Defendant, CHICAGO PATROLMEN’S FEDERAL CREDIT UNION, only,

through their respective counsel that the above-captioned action is dismissed, without prejudice,

pursuant to Federal Rule of Civil Procedure 41. Each party shall bear its own costs and attorney fees.


Dated: February 5, 2018                        Respectfully Submitted,

ROBERT K. MAXWELL                              CHICAGO PATROLMEN’S FEDERAL CREDIT UNION

/s/ Majdi Y. Hijazin                           /s/ Patrick J. Ruberry (with consent)
Majdi Y. Hijazin, Of Counsel                   Patrick J. Ruberry
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